                      Case
AO 199A (Rev'" I 211 1-      1:17-cr-00264-JLT-SKO
                        EDCA [Fresno])                                 Document 76
                                       Order Setting Conditions of Release             Filed 11/13/17 Page 1 of 3       3   Pages
      )




                                   UNITED STATES DISTRICT COURT

                                              Eastern

UNITED STATES OF AMERICA,
                                                                   )
                                                                   )
                             v.
                                                                   )              Case No.         1: 17-CR-00264-LJO-SKO
MICHAEL                                                            )


                                    ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)       The defendant must not violate federal, state, or local law while on release.

(2)       The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U .S.C. § 14135a.

(3)       The defendant must advise the court or the pretrial services office or supervising officer in writing before making
          any change of residence or telephone number.

(4)       The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
          the court may impose.

          The defendant must appear at:      U.S. DISTRICT                2500 TULARE                FRESNOCA
                                            --~...   -------~---~---------.~----~~.~-------~---------~--~
                                                                                           Place



          on          DECEMBER 1 2017 AT 1:30 PM BEFORE U.S. DISTRICT CHIEF JUDGE LAWRENCE J. O'NEILL
                                                                       Dale and Time


          If blank, defendant will be notified of next appearance.

(5)       The defendant must sign an Appearance and Compl iance Bond, if ordered.
                    Case
 AO 199B (Rev", 09/08- EDCA1:17-cr-00264-JLT-SKO                    Document
                           [Fresno]) Additional Conditions of Release (General) 76            Filed 11/13/17 Page 2 of 3Page [2] of CO Pages
 MAiRTINEZ, Michael
 D kt. No. 17-0264-09
                                                  ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

o       (6)         The defendant is placed in the custody of:

                          Name of person or organization

              who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of thc
              defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
              release or disappears.

                       SIGNED: ________________________
                                       CUSTODIAN
[i::l   (7)         The defendant must
        0"          (a) report on a regular basis to the following agency:
                        Pretrial Services and comply with their rules and regulations;
                    (b) report by telephone to the Pretrial Services Agency on the first working day following your release from custody;
                    (c) travel restricted to Eastern District ofCA, unless otherwise approved in advance by PSO;
                    (d) report any contact with law enforcement to your PSO within 24 hours;
                    (e) you must reside at and participate in the WestCare CA, Inc., residential treatment program, as directed by program
                        staffand Pretrial Services; You must remain in the inpatient facility until released by the Pretrial Services Officer; A
                        responsible party approved by Pretrial Services, shall escort you to all required court hearings and escort you back
                        to the program upon completion of the hearing;
                    (I) not associate or have any contact with: Any codefendants or defendants from related cases, unless in the presence of
                        counselor otherwise approved in advance by the PSO;
                    (g) upon successful completion of WestCare, you must maintain or actively seek employment, within 30 days of the
                        program completion, and provide proof thereof to the PSO, upon request;
                    (h) not possess, have in your presence, or have access to a firearm/ammunition, destructive device, or other dangerous
                        weapon; additionally, you must provide written proof of divestment of all firearms/ammunition, currently under
                        your control;
                    (i) submit to drug or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of the costs
                        of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
                    G) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription by
                        a licensed medical practitioner; and you must notify Pretrial Services immediately of any prescribed medication(s).
                        However, medical marijuana, prescribed and/or recommended, may not be used;
                    (k) participate in a program of medical or psychiatric treatment including treatment for drug or alcohol dependency, as
                        approved by the PSO; you must pay all or part ofthe costs of the counseling services based upon your ability to pay,
                        as determined by the PSO;
                    (I) not obtain a passport or other traveling documents during the pendency of this case;
                    (m) upon successful completion of the WestCare Residential Treatement Program, you must reside at an address
                        approved by Pretrial Services and you must not change your residence or absent yourself from this residence for
                        more than 24 hours without the prior approval ofthe Pretrial Services Officer;
                    (n) appear for a bail review hearing before the Honorable Stanley A. Boone, on February 7, 2018, at 10:30 a.m.,
                        Courtroom 9; and,

                    USMS SPECIAL INSTRUCTIONS:
                    (0)     have your release on bond delayed until November 14, 2017, at 7:00 a.m., at which time, you will be released
                            directly to H.S.I. Andres Varela for immediate transportation to the WestCareprogram.
AO 199C (Rev. 0$/08- Case
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                            1:17-cr-00264-JLT-SKO
                     EDCA [Fresno]) Advice of Penalties       Document 76 Filed 11/13/17 Page
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                                       ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:                                               ]'1cJZ UL(i
YOU ARE ADVISED OF THE FOLLOW'ING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance ofa warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could resu It in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i. e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender Illay result in the forfeiture of any bond posted.

                                               Acknowledgment of the Defendant

       I acknowledge that I alll the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                  ~ §f\rIv\      \       ~
                                                                                  /   Defendant's Signature




                                            Directions to the United States Marshal

(f0     The defendant is ORDERED released after processing.




                                                                     STANLEY A. BOONE, U. S. MagistrateJudge
                                                                                      Printed name and title




                   DISTRIBUTION:    COURT     DEFENDANT       PRETRIAL SERVICE      U.S. ATTORNEY              U.S. MARSHAL
